THE COURT.
[1] This is an application for a writ of mandate to compel the respondent county clerk to file and set for hearing protests forwarded to him by the Secretary of State, as required in proceedings taken under the Bridge and Highway District Act of 1925 (Stats. 1925, p. 714), without exacting any filing fee therefor. The statute referred to requires the Secretary of State to forward said protests to the respondent and the respondent is required to file said protests and set the same for hearing in the manner therein prescribed. The acts herein required to be performed are duties enjoined by law on the respondent on behalf of an agency of the state, and *Page 603 
under section 4300a of the Political Code, as amended (Stats. 1921, p. 239), we think it is clear that no filing fee is required or may be demanded for the service to be so rendered by the respondent.
Let the peremptory writ issue as prayed.